    Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 1 of 31 PAGEID #: 855




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


TROY HOWARDS, on behalf of himself and                        Case No.: 1:18-cv-869
others similarly situated,
                                                              Judge: Hon. Michael R. Barrett
                       Plaintiffs,

vs.

FIFTH THIRD BANK,
                                                              DEFENDANT FIFTH THIRD BANK’S
                       Defendant.                             MOTION TO DISMISS PLAINTIFF’S
                                                              FIRST AMENDED CLASS ACTION
                                                              COMPLAINT

         Defendant Fifth Third Bank respectfully moves this Court pursuant to Federal Rule of Civil

Procedure 12(b)(6) to dismiss the First Amended Class Action Complaint of Plaintiff Troy

Howards [Dkt. No. 17] for failure to state a claim upon which relief can be granted.1 Fifth Third

Bank respectfully incorporates its accompanying Memorandum in Support of Fifth Third Bank’s

Motion To Dismiss Plaintiff’s First Amended Class Action Complaint by this reference.




1
  This action was initially commenced in the United States District Court for the Central District of California, with
Plaintiff filing his original complaint on March 8, 2018 (Doc. #1). Fifth Third moved to transfer venue to this Court
(Doc. #13) and moved to dismiss Plaintiff’s original complaint (Doc. #14). Plaintiff filed a First Amended Class
Action Complaint (the “FAC”), (Doc. #17), which Fifth Third also moved to dismiss (Doc. #21). This motion was
fully briefed in the California Court. (Doc. #21, #24, #25). On December 7, 2018, Judge Pregerson entered the Order
Granting Defendant’s Motion to Transfer Venue (Doc. #41), transferring venue to this Court. Judge Pregerson did
not rule on Fifth Third’s motion to dismiss the Amended Complaint. At a telephonic status conference with this Court
on March 20, 2019, the parties discussed Fifth Third’s pending motion to dismiss the FAC (Doc. #21). Plaintiff’s
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opportunity to file an additional opposition. Accordingly, the Court directed the parties to file the briefing related to
Fifth Third Bank’s motion to dismiss the FAC anew.
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 2 of 31 PAGEID #: 856




Dated: April 3, 2019                       Respectfully submitted,

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                                       2
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 3 of 31 PAGEID #: 857




                                CERTIFICATE OF SERVICE

       I certify that on April 3, 2019, a true and authentic copy of the foregoing was submitted to

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                                                3
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 4 of 31 PAGEID #: 858




                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

TROY HOWARDS, individually and on          Case No. 1:18-cv-869
behalf of all others similarly situated,
                                           Judge: Hon. Michael R. Barrett
                  Plaintiff,

        v.

FIFTH THIRD BANK,

                  Defendant.


 MEMORANDUM IN SUPPORT OF FIFTH THIRD BANK’S MOTION TO DISMISS
      PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT
      Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 5 of 31 PAGEID #: 859



                                                   TABLE OF CONTENTS


I.        INTRODUCTION .............................................................................................................. 1
II.       BACKGROUND AND SUMMARY OF ALLEGATIONS .............................................. 2
          A.        The Parties .............................................................................................................. 2
          B.        Howards’ Insufficient-Funds Transactions ............................................................. 3
          C.        Howards Agreed to Pay NSF and OD Fees to Fifth Third And To Notify the Bank
                    of Any Disputed Fees.............................................................................................. 4
          D.        Howards’ Out-of-Network Fee Claim .................................................................... 5
III.      LEGAL STANDARD......................................................................................................... 5
IV.       ARGUMENT ...................................................................................................................... 6
          A.        The Court Should Dismiss Howards’ Breach of Contract Claim As To NSF Fees
                    (Count I) .................................................................................................................. 6
          B.        Count I Should Also Be Dismissed Because Ohio Law Does Not Recognize A
                    Standalone Claim For Breach Of The Implied Covenant Of Good Faith And Fair
                    Dealing. ................................................................................................................... 9
          C.        The Court Should Dismiss Howards’ UCL and CLRA Claims (Counts II and III).
                    ............................................................................................................................... 10
                    1.         Howards’ UCL And CLRA Claims Are Preempted. .................................10
                    2.         The Parties’ Choice-Of-Law Provision Bars Howards’ UCL Claim.........12
                    3.         Howards Has An Adequate Remedy At Law. ...........................................13
                    4.         The CLRA Does Not Apply To Claims Arising Out Of Checking
                               Accounts, Debit Cards, And Overdrafts. ...................................................14
                    5.         Howards’ Unlawful UCL Claim Fails Because His CLRA Claim Fails. ..16
                    6.         Howards Fails To Adequately Plead His UCL And CLRA Claims. .........16
          D.        The Court Should Dismiss Count I Due To Howards’ Failure To Timely Object
                    To The Fees About Which He Complains ............................................................ 18
V.        CONCLUSION ................................................................................................................. 20
CERTIFICATE OF SERVICE ..................................................................................................... 21




                                                                        i
   Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 6 of 31 PAGEID #: 860




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Affiliated FM Ins. Co. v. Owens-Corning Fiberglas Corp.,
    16 F.3d 684 (6th Cir. 1994) .......................................................................................................9

Aliya Medcare Finance, LLC v. Nickell,
    No. CV 14–07806 MMM (Ex), 2015 WL 4163088 (C.D. Cal. July 9, 2015) .........................13

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................5

Atl. Marine Constr. Co. v. United States Dist. Court,
    571 U.S. 49 (2013) ...................................................................................................................12

Au Rustproofing Ctr., Inc. v. Gulf Oil Corp.,
   755 F.2d 1231 (6th Cir. 1985) .................................................................................................19

Baba v. Hewlett-Packard Co.,
   No. C 09–05946 RS, 2010 WL 2486353 (N.D. Cal. June 16, 2010) ......................................17

Barnett Bank of Marion Cty., N.A. v. Nelson,
   517 U.S. 25 (1996) ...................................................................................................................10

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...............................................................................................................5, 6

Berry v. American Express Publishing, Inc.,
   147 Cal. App. 4th 224, 54 Cal. Rptr. 3d 91 (Cal. Ct. App. 2007) ...............................14, 15, 16

Berrylane Trading, Inc. v. Transportation Ins. Co.,
   754 F. App’x 370 (6th Cir. 2018) ..............................................................................................3

Boland, Inc. v. Rolf C. Hagen (USA) Corp.,
   685 F. Supp. 2d 1094 (E.D. Cal. 2010)..............................................................................16, 17

Camacho v. JPMorgan Chase Bank,
  No. 5:14-cv-04048, 2015 WL 5262022 (N.D. Cal. Sept. 9, 2015) ..........................................19

Century 21 Real Estate LLC v. All Prof’l Realty, Inc.,
   600 F. App’x 502 (9th Cir. 2015) ............................................................................................13

Certified Restoration Dry Cleaning Network, LLC v. Tenke Corp.,
   511 F.3d 535 (6th Cir. 2007) ...................................................................................................12




                                                                    ii
    Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 7 of 31 PAGEID #: 861




In re Checking Account Overdraft Litig.,
    694 F. Supp. 2d 1302 (S.D. Fla. 2010) ....................................................................................15

Conder v. Home Savings of Am.,
   680 F. Supp. 2d 1168 (C.D. Cal. 2010) .............................................................................16, 17

Dillon v. NBCUniversal Media LLC,
    No. CV 12–09728 SJO, 2013 WL 3581938 (C.D. Cal. June 18, 2013) ..................................16

Eastham v. Chesapeake Appalachia, L.L.C.,
   754 F.3d 356 (6th Cir. 2014) .....................................................................................................6

Gardner v. Safeco Ins. Co. of Am.,
   No. 14–cv–02024–JCS, 2014 WL 2568895 (N.D. Cal. June 6, 2014) ....................................14

Golihue v. Nat’l City Bank,
   969 N.E.2d 1233 (Ohio App. 2011).........................................................................................18

Gutierrez v. Wells Fargo & Co.,
   622 F. Supp. 2d 946 (N.D. Cal. 2009) .....................................................................................15

Gutierrez v. Wells Fargo Bank, NA,
   704 F.3d 712 (9th Cir. 2012) .......................................................................................10, 11, 12

Hawthorne v. Umpqua Bank,
  No. 11-cv-06700-JST, 2013 WL 5781608 (N.D. Cal. Oct. 25, 2013) .....................................11

Henryhand v. Dorel Juvenile Grp. Inc.,
   No. CV 17–00180 SJO, 2017 WL 7806622 (C.D. Cal. Aug. 9, 2017)..............................17, 18

Hope Acad. Broadway Campus v. White Hat Mgmt., LLC,
   46 N.E. 3d 665 (Ohio 2015) ......................................................................................................9

In re HSBC Bank, USA, N.A., Debit Card Overdraft Fee Litig.,
    1 F. Supp. 3d 34 (E.D.N.Y. 2014) ...........................................................................................15

Kearns v. Ford Motor Co.,
   567 F.3d 1120 (9th Cir. 2009) .................................................................................................17

Klopfenstein v. Fifth Third Bank,
   No. 1:12cv851, 2015 WL 1468382 (S.D. Ohio Mar. 30, 2015) (Barrett, J.) ...........................13

Korea Supply Co. v. Lockheed Martin Corp.,
   29 Cal. 4th 1134 (2003) ...........................................................................................................14

LaFontaine v. Mitsubishi Motors No. Am., Inc.,
   No. SACV 16–943 JVS (FFMx), 2017 WL 8220705, at *7 (C.D. Cal. Feb. 23,
   2017) ........................................................................................................................................14



                                                                       iii
   Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 8 of 31 PAGEID #: 862




Lamm v. State Street Bank & Tr. Co.,
   889 F. Supp. 2d 1321 (S.D. Fla. 2012) ....................................................................................19

Lloyd v. Navy Federal Credit Union,
   No. 17-cv-1280-BAS-RBB, 2018 WL 1757609 (S.D. Cal. Apr. 12, 2018) ............................15

Lucarell v. Nationwide Mut. Ins. Co.,
   97 N.E.3d 458 ..........................................................................................................................10

McAdam v. State Nat. Ins. Co., Inc.,
  No. 12cv1333 ...........................................................................................................................14

McKinney v. Microsoft Corp.,
  No. 1:10-cv-354, 2011 WL 13228141 (S.D. Ohio May 12, 2011) (Barrett, J.) ......................12

MERS, Inc. v. Mosley,
  2010 WL 2541245 (Ohio App. 2010) ........................................................................................9

Moraine Materials Co. v. Cardinal Operating Co.,
  No. CA 16782, 1998 WL 785363 (Ohio App. Nov. 13, 1998) ...............................................18

Morgan Tire of Sacramento, Inc. v. Goodyear Tire & Rubber Co.,
  No. 5:15–cv–2134, 2016 WL 5390412 (N.D. Ohio Sept. 27, 2016) .......................................13

Moss v. Infinity Ins. Co.,
  197 F. Supp. 3d 1191 (N.D. Cal. 2016) ...................................................................................14

North v. McNamara,
   47 F. Supp. 3d 635 (S.D. Ohio 2014) (Barrett, J.) ...................................................................12

O’Neill v. Kemper Ins. Cos.,
   497 F.3d 578 (6th Cir. 2007) .....................................................................................................9

Overby v. Chase Manhattan Bank,
   351 F. Supp. 2d 219 (S.D.N.Y. 2005)......................................................................................19

Patrick v. CitiMortgage, Inc.,
   676 F. App’x 573 (6th Cir. 2017) ..............................................................................................9

Pavlovich v. Nat’l City Bank,
   435 F.3d 560 (6th Cir. 2006) .....................................................................................................6

Pereira v. Regions Bank,
   752 F.3d 1354 (11th Cir. 2014) ...............................................................................................11

Pereira v. Regions Bank,
   918 F. Supp. 2d 1275 (M.D. Fla. 2013), aff’d, 752 F.3d 1354 (11th Cir. 2014) .....................11




                                                                     iv
   Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 9 of 31 PAGEID #: 863




Puerto Rico Tel. Co., Inc. v. SprintCom, Inc.,
   662 F.3d 74 (1st Cir. 2011) ......................................................................................................19

Qassemzadeh v. IBM Poughkeepsie Employees Federal Credit Union,
   167 A.D.2d 378, 561 N.Y.S.2d 795 (2d Dep’t 1990) ..............................................................19

Rhynes v. Stryker Corp.,
   No. 10–5619 SC, 2011 WL 2149095 (N.D. Cal. May 31, 2011) ............................................14

Rosell v. Wells Fargo Bank, N.A.,
   No. 12–cv–06321–JD, 2014 WL 4063050 (N.D. Cal. Aug. 15, 2014) ...................................16

Salas v. Toyota Motor Sales, U.S.A.,
   No. CV 15-8629 FMO (Ex), 2016 WL 7486600 (C.D. Cal. Sept. 27, 2016) ..........................14

Sanderson v. HCA-The Healthcare Co.,
   447 F.3d 873 (6th Cir. 2006) ...................................................................................................18

Sims Buick-GMC Truck, Inc. v. General Motors LLC,
   876 F.3d 182 (6th Cir. 2017) (applying Ohio choice-of-law rules) .........................................12

Strom Eng’g Corp. v. Int’l Fiber Corp.,
    No. 3:12-cv-35, 2013 WL 5274704 (S.D. Ohio Sept. 18, 2013) .............................................18

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
    551 U.S. 308 (2007) ...................................................................................................................6

U.S. Bank, N.A. v. Miller,
   No. CV 12-5632 MMM, 2013 WL 12183652 (C.D. Cal. May 8, 2013) .................................18

Valenziano v. Orchard Enters., Inc.,
   No. CV 10–9754–JFW, 2011 WL 13217770 (C.D. Cal. Jan. 18, 2011) ...........................16, 17

Wendy’s Int’l, Inc. v. Saverin,
  337 F. App’x 471 (6th Cir. 2009) ............................................................................................10

Williams v. Fed. Express Corp.,
   No. CV 99–06252 MMM ........................................................................................................19

Statutes

Cal. Civ. Code § 1770(a) ...............................................................................................................14

California’s Consumer Legal Remedies Act, Cal. Civ. Code § 1750.................................... passim

California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 ............................... passim

Federal Deposit Insurance Act, 12 U.S.C. §§ 1811-1835a, through section
   1831a(j)(1) ...............................................................................................................................11


                                                                       v
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 10 of 31 PAGEID #: 864




National Bank Act, 12 U.S.C. § 1 et seq........................................................................................10

Ohio. Rev. Code. § 1109.02(B)-(C)...............................................................................................11

Rules

Fed. R. Civ. P. 9(b) ..................................................................................................................17, 18

Fed. R. Civ. P. 12(b)(6)................................................................................................................3, 6

Other Authorities

https://www.helpwithmybank.gov/get-answers/bank-accounts/overdraft-fees-and-
    protection/faq-banking-overdraft-08.html (visited Aug. 8, 2018) .............................................8




                                                                     vi
     Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 11 of 31 PAGEID #: 865



I.       INTRODUCTION1

         Plaintiff Troy Howards has brought this putative nationwide class action asserting that

Defendant Fifth Third Bank (“Fifth Third”) breached the agreements governing his deposit

account by charging him non-sufficient funds fees (“NSF Fee”) each time a merchant presented a

debit for payment against his deposit account and his account lacked sufficient funds to pay the

debit. Howards claims, contrary to the rules and regulations governing his account, that Fifth

Third is only permitted to charge the NSF Fee the first time the debit is presented, and not each

time a payment request is “re-submitted for payment” by the merchant after being previously

returned for non-sufficient funds.

         Howards asserts three causes of action arising out of this issue: breach of contract (Count

I), violations of California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 (the

“UCL”) (Count II), and violation of California’s Consumer Legal Remedies Act, Cal. Civ. Code

§ 1750 (the “CLRA”) (Count IIII). The FAC, (Doc. #17), should be dismissed, with prejudice, for

several reasons.

         First, Howards’ contract claim fails because the unambiguous terms of his contract with

Fifth Third permit the fees that he complains about. That is, Fifth Third was permitted to debit

Howard’s account each time a merchant requested payment from it. Focusing on the term “item”

in isolation, Howards ignores that he agreed to pay an NSF or overdraft fee for each “occurrence”

when a debit was presented to his account and the account lacked sufficient funds to pay the debit.

That is precisely what happened here when Howards was charged NSF Fees when he charged



1
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Plaintiff filing his original complaint on March 8, 2018 (Doc. #1). Fifth Third moved to transfer venue to this Court
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opportunity to file an additional opposition. Accordingly, the Court directed the parties to file the briefing related to
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  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 12 of 31 PAGEID #: 866



Uber rides to his account but lacked available funds on deposit to pay for the rides. Fifth Third

acted in accordance with the account rules and regulations; it did not breach them.

       Second, in an attempt to ratchet up the rhetoric surrounding his unmeritorious contract

claim, Howards also asserts derivative claims for violations of the UCL and the CLRA. But those

claims are preempted because they seek to regulate the manner in which Fifth Third charges fees.

The UCL claim also fails because Ohio law governs Howards’ lawsuit, and because Howards has

an adequate remedy at law. Further, the CLRA does not apply to claims arising out of debit cards

and overdrafts, thereby barring this claim for this additional reason. Finally, Howards has not

adequately pleaded a UCL or CLRA claim.

       Third, Howards’ contract claim is barred by Howards’ failure to comply with the error

resolution provision of his account agreement. The account rules and regulations required

Howards to notify Fifth Third of any discrepancies or errors in his account within 30 days of the

issuance of his monthly account statements. He did not allege compliance with this provision,

barring his claim as a matter of law.

       Finally, Howards raises other claims related to allegations that Fifth Third improperly

charged him a $2.75 Out-of-Network ATM usage fee (an “Out-of-Network Fee”) for two ATM

withdrawals from an allegedly in-network ATM located in a 7-Eleven at 11285 Santa Monica

Blvd., Los Angeles, CA. Howards also disputes three overdraft fees he was charged when he

allegedly attempted to charge Uber rides to his debit card when his account lacked sufficient funds

to pay them. These claims, like his other claims, are barred by his failure to notify Fifth Third of

the alleged discrepancy in compliance with the error notification provision.

       The Court should therefore dismiss Howards’ FAC with prejudice.

II.    BACKGROUND AND SUMMARY OF ALLEGATIONS

       A.      THE PARTIES

       Fifth Third is an Ohio banking corporation with its principal place of business in

Cincinnati, Ohio. (FAC ¶ 11.) Fifth Third provides retail-banking services to consumers, and

issues debit cards to its checking-account customers to facilitate electronic payments, purchases,



                                                 2
    Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 13 of 31 PAGEID #: 867



and ATM withdrawals. (Id.) Prior to using these debit cards, Fifth Third’s customers agree to

Fifth Third’s Rules and Regulations, which incorporate Fifth Third’s Debit Card Disclosure and

Card Agreement. (Id. ¶ 13-14; see also Ex. A, Decl. of Alice Schloemer, ¶ 11-12 & Ex. A-4, Fifth

Third’s Rules and Regulations (“R&R”); id., Ex. A-6, Fifth Third’s Debit Card Disclosure and

Card Agreement (“Debit Card Agreement”).2) Fifth Third has no retail branches or retail presence

in the State of California. (Schloemer Decl. ¶ 5.)

         Howards maintains a checking account with Fifth Third, and Fifth Third’s Rules and

Regulations govern his account. (FAC ¶ 13.)

         B.       HOWARDS’ INSUFFICIENT-FUNDS TRANSACTIONS

         This dispute arises from Howards’ complaints about fees Fifth Third allegedly charged him

in connection with at least five Uber fares he charged to his Fifth Third account between June and

August 2017, despite the account undisputedly having insufficient funds to pay the fares.

         For two of the fares, he alleges the bank improperly charged him multiple NSF Fees for

the allegedly same transactions. Specifically, on June 19, 2017, Howards took an “Uber ride that

cost him $13.16.” (FAC ¶ 39). Howards lacked the funds in his account to pay the fare, and Fifth

Third returned the item unpaid due to non-sufficient funds and charged Howards an NSF Fee. (Id.

¶ 40.) On June 26, 2017, “the same transaction was submitted for payment again” by Uber, it was

returned unpaid due to insufficient funds, and Howards was charged an NSF Fee. (Id. ¶ 41.) A

week later, he alleges that the “transaction was submitted for payment yet again, and this time

Fifth Third paid the transaction and charged a $37” overdraft fee (“OD Fee”). (Id. ¶ 43.) Howards

2
  Howards refers to these documents as “[Fifth Third’s] standardized account agreement.” (See, e.g., FAC ¶ 13.) On
a Rule 12(b)(6) motion, the Court may consider documents whose contents are alleged in a complaint and whose
authenticity is undisputed but that are not physically attached to the pleading. See, e.g., Berrylane Trading, Inc. v.
Transportation Ins. Co., 754 F. App’x 370, 370 n.2 (6th Cir. 2018). As described in the Schloemer Declaration, Mr.
Howards received the Rules and Regulations then in-effect for his account in October 2016 as part of a “welcome kit”
when he opened the account. (Schloemer Decl. ¶ 7 and Ex. A-2). The Rules and Regulations were subsequently
amended for February 2017 (Id., Ex. A-3), May 2017 (Id., Ex. A-4), and February 2018 (Id., Ex. A-5). The version
in-effect at the time of the disputed transactions was the May 2017 version and, unless context dictates otherwise, that
version will be referenced throughout this brief. The Schloemer Declaration was originally filed in the Central District
of California and also addressed matters related to venue, which that Court has already adjudicated. Fifth Third is
including the Schloemer Declaration and the attachments thereto with this Motion solely for purposes of providing
the Court will full and complete copies of the Rules and Regulations and Debit Card Agreement, Howards should
have attached the applicable Rules and Regulations and Debit Card Agreement to his Amended Complaint, as they
form the basis for his claims. See Schloemer Decl. at Ex. A-4 and A-6.


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    Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 14 of 31 PAGEID #: 868



then alleges that he charged another Uber fare of $6.99 to his Fifth Third account and that,

(presumably) because funds were not available to cover that fare either, he was charged NSF Fees

on August 1, 2017 and August 8, 2017. (Id. at ¶ 48).

         Howards does not allege that he did not take the Uber rides or did not charge Uber fares to

his Fifth Third account, nor does he allege that he was unaware that Uber would be presenting

payment to Fifth Third for these rides. Howards does not deny that for a period of weeks he failed

to deposit sufficient funds in his account to pay Uber for the rides he took. However, Howards

contends that Fifth Third was only entitled to charge a single NSF Fee even though the Uber rides

were presented for payment multiple times by Uber.

         Howards also alleges that he was charged OD Fees in connection with three other Uber

rides—taken on June 22, 2017, July 20, 2017, and July 27, 2017—that he claims he charged to his

account via debit card. (FAC ¶ 91-94). Howards alleges that he had not opted-in to Fifth Third’s

optional Overdraft Coverage for his account. (Id. ¶ 91). Howards alleges that in the account

agreement, Fifth Third agreed it would not “assert a per item overdraft fee for ... one-time debit

card items unless you have accepted Overdraft Coverage,” and that the bank applies a similar rule

for “everyday debit card transactions.” (Id. ¶ 87). Howards asserts that his Uber charges were

“non-automatic,” everyday transactions and that Fifth Third breached the contract by charging OD

Fees for those transactions when he had not opted-in to Overdraft Coverage.3 (Id. ¶ 87-94).

         C.       HOWARDS AGREED TO PAY NSF AND OD FEES TO FIFTH THIRD AND TO NOTIFY
                  THE BANK OF ANY DISPUTED FEES

         In his contract with Fifth Third, Howards agreed that the bank could debit his checking

account when he used his debit card as a form of payment. (R&R at 3, 13; Debit Card Agt. § 17.)

Howards also agreed that “[Fifth Third] may assess an overdraft/returned item fee whether we pay

or return a debit (-).” (R&R at 15.) And he further “agree[d] to immediately pay to [Fifth Third]

the amount of any overdraft, plus any fees” and that Fifth Third could levy up to a $37 fee for each

occurrence thereof. (Id. at 15; FAC ¶ 57.)

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  Fifth Third disputes many of the factual allegations of the FAC, including the allegation that the Uber transactions
at issue led to OD Fees, but accepts the FAC’s factual allegations as true solely for purposes of this motion to dismiss.


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  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 15 of 31 PAGEID #: 869



       If Howards disagreed with any charge to his checking account, the R&R required him to

provide Fifth Third notice of that disagreement within 30 days:
       Customer agrees to carefully examine and reconcile account statements . . . .
       Customer agrees that Bank will not be liable if Customer fails to exercise ordinary
       care in examining their statements. Customer will notify Bank of any discrepancy
       with any item, including, but not limited to, deposits, withdrawals, and checks,
       within thirty (30) days of the statement mailing or made available to customer date.
       If notification is not received, Bank will have no liability for such item(s).
(R&R at 6.)

       Roughly eight months after he had insufficient funds to cover his Uber purchases, Howards

brought the instant complaint. Prior to filing suit, Howards never informed Fifth Third that he

disagreed with the fees Fifth Third charged him for having insufficient funds in his account. (See

generally FAC.)

       D.      HOWARDS’ OUT-OF-NETWORK FEE CLAIM

       Finally, Howards alleges that he agreed to pay a $2.75 Out-of-Network fee in connection

with his usage of ATMs outside Fifth Third’s “network,” but that his usage of ATMs inside the

“network” would be fee-free. (FAC ¶ 16-17.) He alleges the “network” included over 43,000

Allpoint and other ATMs throughout the country. (Id. ¶ 15.)

       Howards alleges that he used, on “multiple occasions,” an ATM located in a 7-Eleven store

at 11285 Santa Monica Boulevard, Los Angeles, CA, which he alleges was part of Fifth Third’s

“network.” (Id. ¶ 18.) He alleges that despite this ATM being “in-network,” on two occasions,

July 7 and December 12, 2017, Fifth Third allegedly charged him a $2.75 Out-of-Network fee for

cash withdrawals he made at this specific ATM. (Id. at ¶ 17.) As with his other claims, Howards

never informed Fifth Third that he believed he was incorrectly charged Out-of-Network fees for

ATM usage at the ATM in question. (See generally Compl.).

III.   LEGAL STANDARD

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A



                                                 5
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 16 of 31 PAGEID #: 870



“plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Twombly, 550 U.S. at 555 (citations omitted). In ruling on a motion to dismiss, “courts must

consider the complaint in its entirety, as well as other sources courts ordinarily examine when

ruling on Rule 12(b)(6) motions to dismiss, in particular, documents incorporated into the

complaint by reference, and matters of which a court may take judicial notice.” Tellabs, Inc. v.

Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

IV.    ARGUMENT

       A.      THE COURT SHOULD DISMISS HOWARDS’ BREACH OF CONTRACT CLAIM AS TO
               NSF FEES (COUNT I)
       Howards’ breach of contract claim fails as to his NSF Fee claim because the fees were

contractually authorized. “[C]ontract interpretation is a matter of law when a contract’s terms are

clear and unambiguous.” Pavlovich v. Nat’l City Bank, 435 F.3d 560, 565 (6th Cir. 2006).

“[W]hen confronted with an issue of contract interpretation, a court’s role is to give effect to the

intent of the parties.” Eastham v. Chesapeake Appalachia, L.L.C., 754 F.3d 356, 361 (6th Cir.

2014) (quotation omitted). “To that end, courts should examine the contract as a whole and

presume that the intent of the parties is reflected in the language of the contract.” Id. (quotation

omitted). “In addition, courts should look to the plain and ordinary meaning of the language used
in the contract unless another meaning is clearly apparent from the contents of the agreement.” Id.

(quotation omitted).

       Howards alleges that he took an Uber ride on June 19, 2017 that cost $13.16, and “Fifth

Third rejected payment of that transaction due to insufficient funds, and charged Plaintiff a $37

NSF Fee.” (FAC ¶ 40). Howards further alleges that Uber resubmitted the payment twice, on June

26, 2017 and again a week later, with Fifth Third charging another NSF Fee on the second try and

then paying the item and charging an OD Fee on the third try. (Id. ¶ 41-43). Howards argues that

Fifth Third breached the R&R by charging the second NSF Fee, alleging that the R&R only




                                                 6
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 17 of 31 PAGEID #: 871



permitted Fifth Third to charge a single NSF Fee per “item,” no matter how many times an “item”

was submitted for payment. His read of the relevant agreements, however, is untenable.

       Howards agreed that “any debit to [his] account initiated by [a] party to whom [he] gave

[his account] information is deemed authorized” and properly payable. (R&R at 3; Compl. ¶ 51.)

His Debit Card Agreement permits the bank to “directly debit or credit the Account for the amount

of a Card transaction shown on the sales draft, receipt or other record of the transaction, ... and to

handle debit drafts in the same manner we handle checks on the Account.” (Ex. A-3 at § 17.) The

R&R identifies the consequences if a debit to Howards’ account would result in an overdraft to his

account:
       These are the ways a debit (-) may be handled when there is not enough money in
       your account:
          • If you choose to enroll, Overdraft Protection may be used to pay the debit (-)
          (using funds from another Fifth Third account).
          • Overdraft Coverage may be applied by the Bank, at the Bank’s discretion, to
          pay the debit (-), resulting in a negative balance in your account.
          • Your debit (-) may be returned unpaid
       If you are charged overdraft or returned item fees, the fees will be an additional
       debit (-) to your account and will further increase the negative balance in your
       account if a deposit is not made on time.

(R&R at 15).

       The R&R provides that Fifth Third “may assess a fee for overdrafts created by checks, in-

person withdrawals, ATM withdrawals, debit card transactions, or other debits” and that “[it] may

assess an overdraft/returned item fee whether [it] pay[s] or return[s] a debit (-).” (Id.)

       These provisions establish that when a party such as Uber submits a debit to a customer’s

account and there are insufficient funds in the account to pay it, Fifth Third can either “pay” the

debit using Overdraft Coverage or can “return[]” the debit “unpaid.” (R&R at 15). Howards agreed

that the bank may assess an NSF or OD Fee “whether [it] pay[s] or return[s] a debit (-).” (Id.) The

amount of the NSF or OD Fee is defined as: “$37/item for each occurrence.” (FAC ¶ 57). Thus,

each time Uber submitted the $13.16 fare for payment and Howards’ account lacked funds to pay

it, the submission was an “occurrence” and a fee was charged.




                                                  7
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 18 of 31 PAGEID #: 872



       Despite these provisions, Howards argues that “for a given transaction, the Bank may pay

or return it, but it cannot do both for the same transaction, and it cannot do the same thing more

than once.” (FAC ¶ 63). His argument is founded on an unsupported legal conclusion that

“‘checks’ cannot be returned and re-processed multiple times...” (Id. ¶ 65). To the contrary,

returned items, including checks, can indeed be re-presented for payment.           The agreement

contemplates it (R&R at 23) and, as the Office of the Comptroller of the Currency (“OCC”)

acknowledges, “[g]enerally, a bank will redeposit the check twice when there are insufficient funds

in your account… However, there are no laws that determine how many times a check may be

resubmitted.” https://www.helpwithmybank.gov/get-answers/bank-accounts/overdraft-fees-and-

protection/faq-banking-overdraft-08.html (visited Aug. 8, 2018).

       Despite Howards’ attempts to muddy this issue, the basic point is that under the parties’

agreement and pursuant to applicable law, a single “item” can be presented for payment more than

once if it is returned unpayable due to non-sufficient funds. The R&R Fee Schedule defines the

NSF Fee /OD Fee as being: “$37/item for each occurrence.” (FAC ¶ 57) (emphasis added). The

contractual triggering event for charging a fee is when a “debit (-)” is presented and “there is not

enough money in your account” to honor the debit. (R&R at 15). Reading these provisions

together, the only plausible interpretation is that an NSF Fee is charged for each “occurrence” of

a debit being presented to Fifth Third for payment from Howards’ account if his account lacks

sufficient funds at each point in time when the debit is presented for payment, even if the debit is

a second or third attempt to obtain payment of the same charge.

       By focusing improperly on the word “item” in isolation, Howards’ interpretation of the

R&R would, among other things, read the “for each occurrence” language out of the R&R. If

Howards is right, and only one NSF Fee can be charged for a single “item” no matter how many

times it is presented for payment, then the words “for each occurrence” are rendered surplusage

because there could never be more than one “occurrence” of an NSF Fee or OD Fee for a single

“item.” But under Ohio law, a court must “give meaning to every paragraph, clause, phrase, and




                                                 8
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 19 of 31 PAGEID #: 873



word, omitting nothing as meaningless, or surplusage” in a contract. Affiliated FM Ins. Co. v.

Owens-Corning Fiberglas Corp., 16 F.3d 684, 686 (6th Cir. 1994).

       In the end, Howards’ real complaint about NSF Fees is his belief that they are “abusive”

or unfair. (FAC ¶ 34). However, Howards’ philosophical beliefs about the fairness of NSF Fees

are irrelevant to a contract claim. Under Ohio law, “[a] contract does not become ambiguous by

reason of the fact that in its operation it will work a hardship upon one of the parties thereto.”

O’Neill v. Kemper Ins. Cos., 497 F.3d 578, 582 (6th Cir. 2007). “It is not the responsibility or

function of [a] court to rewrite the parties’ contract in order to provide for a more equitable result.”

Hope Acad. Broadway Campus v. White Hat Mgmt., LLC, 46 N.E. 3d 665, 675 (Ohio 2015). His

contract claim should be dismissed with prejudice.

       B.      COUNT I SHOULD ALSO BE DISMISSED BECAUSE OHIO LAW DOES NOT
               RECOGNIZE A STANDALONE CLAIM FOR BREACH OF THE IMPLIED COVENANT
               OF GOOD FAITH AND FAIR DEALING.
       Howards alleges that Fifth Third breached the implied covenant of good faith and fair

dealing by using its “discretion” to charge OON Fees for in-network ATMs and to “charge OD

Fees on non-automatic transactions paid for with a debit card...,” as well as by “charg[ing] more

than one NSF [fee] on a given transaction,” (FAC ¶¶ 119-121). These claims must be dismissed

because there is no cognizable bad faith claim in Ohio absent a breach of an express contractual

provision.

       As the Sixth Circuit succinctly stated, “Ohio law recognizes only a breach of contract

claim; it does not recognize a free-standing or independent claim for breach of the covenants of

good faith and fair dealing.” Patrick v. CitiMortgage, Inc., 676 F. App’x 573, 577 (6th Cir. 2017);

see also MERS, Inc. v. Mosley, 2010 WL 2541245, at *11 (Ohio App. 2010) (“there is no claim

for breach of the implied covenants of good faith and fair dealing independent of a breach of

contract action.”). In particular, under Ohio law, “[a] party to a contract does not breach the

implied duty of good faith and fair dealing by seeking to enforce the agreement as written or by

acting in accordance with its express terms, nor can there be a breach of the implied duty unless a




                                                   9
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 20 of 31 PAGEID #: 874



specific obligation imposed by the contract is not met.” Lucarell v. Nationwide Mut. Ins. Co., 97

N.E.3d 458, syl. ¶ 3 (Ohio 2018).

       Here, Howards’ bad faith claim hinges on his complaints about Fifth Third exercising its

discretion to charge him fees it is permitted to charge under the parties’ agreement. If Fifth Third

has “discretion” to charge the fees under the agreement, as Howards alleges, then Fifth Third’s act

of charging the fees is not a breach and cannot form the basis of a bad faith claim as a matter of

law. See Wendy’s Int’l, Inc. v. Saverin, 337 F. App’x 471, 477 (6th Cir. 2009) (holding that “the

implied duty of good faith cannot be breached by acting as allowed by the specific terms of the

contract.”). Similarly, for the reasons stated supra, Fifth Third is permitted by the terms of the

agreement to charge NSF fees for debits presented for payment, even if “resubmitted.”

Accordingly, charging “more than one NSF fee on a given transaction” is not a breach and cannot

form the basis of a claim for breach of the implied covenant of good faith and fair dealing. The

Court should dismiss Count I of Howards’ FAC for this additional reason.

       C.      THE COURT SHOULD DISMISS HOWARDS’ UCL AND CLRA CLAIMS (COUNTS II
               AND III).

       The Court should dismiss Howards’ UCL and CLRA claims. First, these claims are

preempted. Second, because Ohio law governs Howards’ lawsuit, and also because he has an

adequate remedy at law, he cannot maintain his UCL claim. Third, the CLRA does not apply to

claims arising out of debit cards and overdrafts, such that both the CLRA claim and the UCL claim

based on the CLRA fail. Finally, Howards has not adequately pleaded a UCL or CLRA claim.

               1.      Howards’ UCL And CLRA Claims Are Preempted.

       Counts II and III are preempted because they attempt to regulate the business of banking—

specifically, Fifth Third’s ability to charge fees. The National Bank Act (“NBA”), 12 U.S.C. § 1

et seq. preempts any state law that “prevent[s] or significantly interfere[s] with the national bank’s

exercise of its powers.” Gutierrez v. Wells Fargo Bank, NA, 704 F.3d 712, 722 (9th Cir. 2012)

(quoting Barnett Bank of Marion Cty., N.A. v. Nelson, 517 U.S. 25, 33 (1996)).




                                                 10
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 21 of 31 PAGEID #: 875



       National banks have “all such incidental powers as shall be necessary to carry on the

business of banking.” Id. at 723 (quoting 12 U.S.C. § 24). This includes the power to “charge

customers non-interest charges and fees, such as . . . overdraft fees . . . .” Id. at 724 (citing 12

C.F.R. § 7.4002(a)). “[T]he establishment of non-interest charges and fees, their amounts, and the

method of calculating them are business decisions made by each bank, in its discretion, according

to sound banking principles.” Id. (emphasis in original) (quoting 12 C.F.R. § 7.4002(b)(2)). Thus,

the NBA preempts UCL and CLRA claims where they would significantly impair a national bank’s

power to charge non-interest charges and fees, such as NSF, overdraft, or ATM fees. Id. at 725.

       The Federal Deposit Insurance Act (“FDIA”), 12 U.S.C. §§ 1811-1835a, through section

1831a(j)(1), extends to state-chartered banks the preemptive force of the NBA and OCC

regulations. Hawthorne v. Umpqua Bank, No. 11-cv-06700-JST, 2013 WL 5781608, *9 (N.D.

Cal. Oct. 25, 2013) (“Insofar as Plaintiffs’ UCL claims would be preempted by the [NBA], they

are preempted by the FDIA.”); see also Pereira v. Regions Bank, 752 F.3d 1354, 1357 (11th Cir.

2014) (because NBA preempted a Florida statute, the FDIA also preempted it with respect to state-

chartered banks). Thus, the FDIA preempts the imposition of California law on out-of-state state

banks to the same extent that they are preempted as to national banks. Hawthorne, 2013 WL

5781608 at *9; see also Pereira v. Regions Bank, 918 F. Supp. 2d 1275, 1281-82 (M.D. Fla. 2013),

aff’d, 752 F.3d 1354 (11th Cir. 2014).

       Fifth Third is an Ohio-chartered bank. The FDIA extends to Fifth Third the preemptive

force of the NBA and OCC regulations. Fifth Third may “exercise all powers, perform all acts,

and provide all services that are…a part of or incidental to the business of banking” and “that are

permitted for national banks.” Ohio. Rev. Code. § 1109.02(B)-(C).

       Howards’ statutory claims are an attempt to regulate the manner in which Fifth Third

charges fees, and thus improperly interfere with Fifth Third’s exercise of its powers. (See FAC

¶¶ 127 (alleging UCL violation for charging certain fees), 132 (alleging UCL violation for paying

improper, abusive, and/or unconscionable fees), 144 (alleging CLRA violation for charging certain

fees)). Indeed, the first paragraph of Howards’ Prayer for Relief asks the Court to declare that



                                                11
    Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 22 of 31 PAGEID #: 876



“[Fifth Third’s] OON Fee, NSF Fee, and OD Fee policies and practices to be wrongful, unfair and

unconscionable”). Such interference is preempted by the FDIA and thus those claims should be

dismissed. See Gutierrez, 704 F.3d at 725 (“We hold that a ‘good faith’ limitation applied through

[the UCL] is preempted when applied in a manner that prevents or significantly interferes with a

national bank’s... power ....”).

                   2.       The Parties’ Choice-Of-Law Provision Bars Howards’ UCL Claim.

         Howards’ UCL claim is also barred by the parties’ choice-of-law provision. Howards and

Fifth Third agreed that “[t]he laws of the United States and the State of Ohio govern th[eir]

agreement . . . .” (R&R at 20.) Because this action arises out of and relates to the R&R, Ohio law

controls and the Court should dismiss Howards’ UCL claim.

         In diversity actions, federal courts apply the forum state’s choice-of-law rules to evaluate

the enforceability of a contractual choice-of-law provision. See, e.g., McKinney v. Microsoft

Corp., No. 1:10-cv-354, 2011 WL 13228141, at *5 (S.D. Ohio May 12, 2011) (Barrett, J.).

“However, when interpreting contracts in a diversity action, the Sixth Circuit has also stated that

courts should ‘generally enforce the parties’ contractual choice of…governing law.’” Id. (quoting

Certified Restoration Dry Cleaning Network, LLC v. Tenke Corp., 511 F.3d 535, 541 (6th Cir.

2007)). Ohio law4 “enforces a contract’s choice-of-law provision unless (1) the chosen State has

no substantial relationship to the parties or the transaction and there is no other reasonable basis

for the parties’ choice or (2) its application would contradict a fundamental policy of another State

with a materially greater interest in the issue.” Sims Buick-GMC Truck, Inc. v. General Motors

LLC, 876 F.3d 182, 185 (6th Cir. 2017) (applying Ohio choice-of-law rules). Neither exception

applies here. First, Ohio has a substantial relationship to the parties because Fifth Third is

incorporated and has its headquarters in Ohio. (FAC ¶ 11.); see, e.g., Sims Buick-GMC Truck,

Inc., 876 F.3d at 185-86 (substantial relationship test met where one of the parties maintained its


4
  Because this action was transferred from the district court for the central district of California to this Court pursuant
to a forum-selection clause, the transfer of venue “will not carry with it the original venue’s [i.e., California’s] choice-
of-law rules.” North v. McNamara, 47 F. Supp. 3d 635, 647 (S.D. Ohio 2014) (Barrett, J.) (quoting Atl. Marine Constr.
Co. v. United States Dist. Court, 571 U.S. 49, 64 (2013)). Consequently, Ohio choice-of-law rules apply here.


                                                            12
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 23 of 31 PAGEID #: 877



headquarters in the chosen state). Second, California does not have a materially greater interest

than Ohio because Fifth Third is an Ohio banking corporation with its principal place of business

and corporate headquarters in Ohio. (FAC ¶ 11.) Because California has not greater material

interest in this action than Ohio, there is no reason to consider whether the choice-of-law clause

here contravenes California’s fundamental policy, to the extent there is any such fundamental

policy relevant here (which there is not).

       Ohio courts have dismissed claims under other states’ consumer protection statutes,

including under California’s UCL, where the parties agreed that Ohio law would govern their

agreement. Morgan Tire of Sacramento, Inc. v. Goodyear Tire & Rubber Co., No. 5:15–cv–2134,

2016 WL 5390412, at *11 (N.D. Ohio Sept. 27, 2016) (“The Court agrees that the parties’ selection

of Ohio law as their contractual choice of law requires dismissal of claim seven, brought solely

under California statutory law [i.e., UCL], because the allegations in claim seven relate to the

performance of the parties’ contractual duties.”). See also Klopfenstein v. Fifth Third Bank, No.

1:12cv851, 2015 WL 1468382, at *9 (S.D. Ohio Mar. 30, 2015) (Barrett, J.) (holding that claims

under Illinois and Kentucky consumer protection statutes were barred by an Ohio choice-of-law

clause). Even courts in the Ninth Circuit have dismissed claims brought under the UCL when

California law does not govern the parties’ agreement. See, e.g., Century 21 Real Estate LLC v.

All Prof’l Realty, Inc., 600 F. App’x 502, 504 (9th Cir. 2015) (“District court did not err in

enforcing choice-of-law provision calling for New Jersey law to apply, thus, dismissing the UCL

claims.”); Aliya Medcare Finance, LLC v. Nickell, No. CV 14–07806 MMM (Ex), 2015 WL

4163088, at *17 (C.D. Cal. July 9, 2015) (“Aliya and third party defendants next argue, and the

court agrees, that to the extent CTB’s trademark and unfair competition claims are based on state

law, they fail because the agreements are governed by Nevada law.”). This Court should dismiss

Howards’ UCL claim because it is barred by the parties’ Ohio choice-of-law clause.

               3.      Howards Has An Adequate Remedy At Law.

       Howards’ UCL claim also fails because his contract claim provides an adequate remedy at

law. The UCL is an equitable statute because the only remedies available are restitution and



                                               13
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 24 of 31 PAGEID #: 878



injunctive relief. See, e.g., Salas v. Toyota Motor Sales, U.S.A., No. CV 15-8629 FMO (Ex), 2016

WL 7486600, at *13 (C.D. Cal. Sept. 27, 2016) (citing Korea Supply Co. v. Lockheed Martin

Corp., 29 Cal. 4th 1134, 1144 (2003)); LaFontaine v. Mitsubishi Motors No. Am., Inc., No. SACV

16–943 JVS (FFMx), 2017 WL 8220705, at *7 (C.D. Cal. Feb. 23, 2017). “A plaintiff seeking

equitable relief . . . must demonstrate that he does not have an adequate remedy at law.”

LaFontaine, 2017 WL 8220705, at *7; see also Salas, 2016 WL 7486600, at *13 (collecting cases).

       Howards has not alleged that he lacks an adequate remedy at law. This is because he cannot

do so. “Where, as here, a plaintiff can seek money damages if she prevails on claims for breach

of contract or breach of the implied covenant of good faith and fair dealing, she has an adequate

remedy at law.” Moss v. Infinity Ins. Co., 197 F. Supp. 3d 1191, 1203 (N.D. Cal. 2016); Gardner

v. Safeco Ins. Co. of Am., No. 14–cv–02024–JCS, 2014 WL 2568895, at *7 (N.D. Cal. June 6,

2014) (same); McAdam v. State Nat. Ins. Co., Inc., No. 12cv1333 BTM(MDD), 2012 WL

4364655, at *3 (S.D. Cal. Sept. 24, 2012) (same). “Such is the case even if all of [Howards’] non-

UCL claims ultimately fail.” Moss, 197 F. Supp. 3d at 1203; see also Rhynes v. Stryker Corp.,

No. 10–5619 SC, 2011 WL 2149095, at *4 (N.D. Cal. May 31, 2011) (same). Accordingly, the

Court should dismiss Howard’s UCL claim for this additional reason. See, e.g., LaFontaine, 2017

WL 8220705, at *7 (dismissing UCL claim); Salas, 2016 WL 7486600, at *14 (same).

               4.      The CLRA Does Not Apply To Claims Arising Out Of Checking
                       Accounts, Debit Cards, And Overdrafts.
       The CLRA prohibits “unfair methods of competition and unfair or deceptive acts or

practices in a transaction intended to result or that results in the sale or lease of goods or services

to any consumer.” Cal. Civ. Code § 1770(a). The CLRA’s enactment “followed findings by the

National Advisory Commission on Civil Disorders,” which was “[i]nvestigating the causes of

recent violence in low-income urban areas,” that “low-income persons were the most common

victims of deceptive sales practices,” were “the least likely to seek legal help,” and “[f]ew options

and typically poor credit histories induced these consumers to buy goods and services from even

the most disreputable merchant.” Berry v. American Express Publishing, Inc., 147 Cal. App. 4th




                                                  14
    Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 25 of 31 PAGEID #: 879



224, 54 Cal. Rptr. 3d 91, 94-95 (Cal. Ct. App. 2007). The California Legislature “adopted the

CLRA to mitigate these social and economic problems.” Id. As a result, the CLRA applies “to

transactions involving the actual or contemplated sale or lease of goods and services.” Id. at 96.

        Here, Howards attempts to expand the scope of the CLRA well beyond its recognized

limits. Howards alleges that “[Fifth Third’s] provision of debit cards, offering of ATM services,

and rejection of transactions for which there are insufficient funds” are “services” under the CLRA.

(FAC ¶ 142.) However, the CLRA does not apply to claims arising out of checking accounts fees

such as debit cards and ATM, overdraft, and NSF Fees.5 “The CLRA does not apply to claims

involving debit cards or overdrafts associated with those cards, separate and apart from any

transaction involving, or intended to result in, a sale or lease of goods or services.” Lloyd v. Navy

Federal Credit Union, No. 17-cv-1280-BAS-RBB, 2018 WL 1757609, at *20 (S.D. Cal. Apr. 12,

2018); Gutierrez v. Wells Fargo & Co., 622 F. Supp. 2d 946, 957 (N.D. Cal. 2009); see also In re

Checking Account Overdraft Litig., 694 F. Supp. 2d 1302, 1326-27 (S.D. Fla. 2010); In re HSBC

Bank, USA, N.A., Debit Card Overdraft Fee Litig., 1 F. Supp. 3d 34, 55 (E.D.N.Y. 2014).

        This is because “goods” and “services”—defined terms in the statute—do not include

money, credit or the extension of credit. See Lloyd, 2018 WL 1757609 at *20 (debit cards and

overdrafts are not a service under CLRA); Gutierrez, 622 F. Supp. 2d at 957 (bank’s actions

relating to overdrafts are not a service under CLRA); In re HSBC Bank, USA, N.A., 1 F. Supp. 3d

at 55 (same); In re Checking Account Overdraft Litig., 694 F. Supp. 2d at 1327 (same); Berry, 54

Cal. Rptr. 3d at 96-97 (credit transactions, separate and apart from any sale or lease of goods or

services, are not covered under CLRA). These holdings are consistent with the fact that the

California Legislature considered “money” and “credit” to be different from goods or services and

excluded any reference to money and credit from the CLRA. See e.g., Berry, 54 Cal. Rptr. 3d at

94-96; In re Checking Account Litig., 694 F. Supp. 2d at 1327. Indeed, the California Legislature




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 Howards also fails to identify the prohibited practice in which Fifth Third allegedly engaged. See Lloyd, 2018 WL
1757609 at *18 (plaintiff must identify prohibited practice under the CLRA that defendant purportedly engaged in).


                                                       15
 Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 26 of 31 PAGEID #: 880



“unmistakably narrowed the [CLRA’s] scope by limiting liability to transactions involving the

actual or contemplated sale or lease of goods and services.” Berry, 54 Cal. Rptr. 3d at 96.

       Accordingly, this Court should dismiss Count III for this additional reason.

               5.     Howards’ Unlawful UCL Claim Fails Because His CLRA Claim Fails.

       Similarly, the Court should dismiss Count II alleging a violation of the unlawful prong of

the UCL because Howards’ CLRA claim – the predicate for his claim of an unlawful violation of

the UCL - fails as set forth above. (FAC ¶ 137). Thus, because Howards’ CLRA claim fails, so

too much his unlawful business act claim under the UCL. Howards alleges no other basis for that

claim. See Dillon v. NBCUniversal Media LLC, No. CV 12–09728 SJO (AJWx), 2013 WL

3581938, *8 (C.D. Cal. June 18, 2013).

               6.     Howards Fails To Adequately Plead His UCL And CLRA Claims.

       Even if an UCL or CLRA claim were proper – which they are not for the reasons set forth

above, the Court should still dismiss Howards’ UCL and CLRA claims because they are simply

repackaged contract claims which do not give rise to UCL or CLRA violations. Moreover,

Howards has not pleaded any misrepresentation with particularity.

       Howards alleges no facts or circumstances to support his UCL and CLRA claims beyond

the contract. (E.g., FAC ¶¶ 133, 145.). But, a “breach of contract claim cannot form the basis for

a UCL claim without additional unlawful, unfair, or fraudulent conduct[.]” Conder v. Home

Savings of Am., 680 F. Supp. 2d 1168, 1176 (C.D. Cal. 2010). “Otherwise, every garden-variety

breach of contract claim . . . would double as a UCL claim.” Rosell v. Wells Fargo Bank, N.A.,

No. 12–cv–06321–JD, 2014 WL 4063050, at *6 (N.D. Cal. Aug. 15, 2014). And, while “[a]n act

that breaches a contract may also breach the UCL,” this is only true “when the act is unfair,

unlawful or fraudulent for some additional reason.” Boland, Inc. v. Rolf C. Hagen (USA) Corp.,

685 F. Supp. 2d 1094, 1110 (E.D. Cal. 2010) (emphasis added); see also Valenziano v. Orchard

Enters., Inc., No. CV 10–9754–JFW (PLAx), 2011 WL 13217770, at *3 (C.D. Cal. Jan. 18, 2011)

(same); Conder, 680 F. Supp. 2d at 1176 (same). For instance, in Valenziano, the plaintiff alleged

the defendant violated the UCL by failing to pay amounts due on a contract. The court dismissed,



                                                16
 Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 27 of 31 PAGEID #: 881



finding that the “[p]laintiff ha[d] not pled that [defendant’s] breaches of contract were

independently unlawful, unfair, or fraudulent, merely that [defendant] did not pay Plaintiff the

amounts due . . . .” 2011 WL 13217770 at *3; see also Conder, 60 F. Supp. 2d at 1176 (“a breach

of contract claim cannot form the basis for a UCL claim without additional unlawful, unfair, or

fraudulent conduct”).

          Similarly, a failure to fulfill a contractual promise alone does not become actionable under

the CLRA. Baba v. Hewlett-Packard Co., No. C 09–05946 RS, 2010 WL 2486353, at *4 (N.D.

Cal. June 16, 2010) (dismissing CLRA claim because “as to any affirmative misrepresentations,

plaintiffs allege little more than a breach of contract”). And “a breach of the implied covenant of

good faith and fair dealing, is not itself an unlawful act for purposes of the UCL.” Boland, Inc.,

685 F. Supp. 2d at 1110.

          Howards has failed to make any plausible factual allegations to support that the fees

allegedly charged by Fifth Third are “unfair, unlawful, or fraudulent for some additional reason”

or “unfair methods of competition and unfair or deceptive acts or practices” beyond Howards’

argument that charging the fees allegedly breached the contract. Boland, 685 F. Supp. 2d at 1110;

Baba, 2010 WL 2486353 at *3-4. Thus, the Court should dismiss Howards’ UCL and CLRA

claims.

          Additionally, Howards has also failed to plead any misrepresentation with particularity, as

is required under Fed. R. Civ. P. 9(b) for the fraud-based UCL or CLRA claim. Henryhand v.

Dorel Juvenile Grp. Inc., No. CV 17–00180 SJO (AGRx), 2017 WL 7806622, at *6 (C.D. Cal.

Aug. 9, 2017); Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009). Howards only

alleges that Fifth Third violated the UCL’s fraud prong “when it affirmatively and knowingly

misrepresented its OON Fee, NSF Fee, and OD Fee practices.” (FAC ¶ 133.) Similarly, Howards

alleges that Fifth Third violated the CLRA when it “made material misrepresentations and/or

omissions concerning each of these practices upon which Plaintiff relied.” (Id. ¶ 145.). Yet, to

satisfy Rule 9(b), a plaintiff must “identify the ‘who, what, when, where and how of the misconduct

charged,’ as well as ‘what is false or misleading about the purportedly fraudulent conduct, and



                                                  17
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 28 of 31 PAGEID #: 882



why it is false.” Henryhand, 2017 WL 7806622, at *6 (dismissing fraud-based UCL and CRLA

claims because plaintiff failed to plead facts supporting an alleged affirmative misrepresentation);

Sanderson v. HCA-The Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006) (“[A]t a

minimum, Rule 9(b) requires that the plaintiff specify the who, what, when, where, and how of the

alleged fraud.”). Howards’ conclusory assertions fall short of meeting this heightened pleading

burden because Howards is improperly seeking to re-package his contract claim as fraud-based

claims. U.S. Bank, N.A. v. Miller, No. CV 12-5632 MMM (MANx), 2013 WL 12183652, at *8

(C.D. Cal. May 8, 2013).

       D.      THE COURT SHOULD DISMISS COUNT I DUE TO HOWARDS’ FAILURE TO TIMELY
               OBJECT TO THE FEES ABOUT WHICH HE COMPLAINS
       Finally, even assuming that Howards could maintain a claim for breach of contract based

on the allegations in the FAC, his claims are foreclosed under the express terms of the parties’

agreement. In the R&R, Howards agreed to “notify [Fifth Third] of any discrepancy with any item”

on his Fifth Third account statements “within thirty (30) days” of having access thereto. (R&R at

6) (emphasis added)). Howards further agreed that “[i]f notification is not received, [Fifth Third]

will have no liability for such item(s).” (Id. (emphasis added)).

       Where, as here, a contract requires a party to provide notice when it believes another party

has improperly charged its account, the notice provision operates as condition precedent under
Ohio law. See Moraine Materials Co. v. Cardinal Operating Co., No. CA 16782, 1998 WL

785363, *2 (Ohio App. Nov. 13, 1998) (“The notice provision in the contracts operated as a

condition precedent to [plaintiff]’s right to claim any damages from default by the appellees.”);

Golihue v. Nat’l City Bank, 969 N.E.2d 1233, 1237–38 (Ohio App. 2011) (finding that “account

agreement establishe[d] a condition precedent” where it “require[d] a depositor to notify the bank

of unauthorized signatures within 60 days after a statement was made available”); Strom Eng’g

Corp. v. Int’l Fiber Corp., No. 3:12-cv-35, 2013 WL 5274704, *6 (S.D. Ohio Sept. 18, 2013)

(enforcing notification provision under which plaintiff “agree[d] that if it fail[ed] to provide written




                                                  18
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 29 of 31 PAGEID #: 883



notice of any disputed invoice items within thirty (30) calendar days after receipt thereof, [plaintiff]

acknowledge[d] the item and waives its right to challenge the validity of the items”).

       Other jurisdictions are in accord. See, e.g., Lamm v. State Street Bank & Tr. Co., 889 F.

Supp. 2d 1321, 1330 (S.D. Fla. 2012) (“Plaintiff[’s] failure to comply with the notice requirements

contained in the custody agreements is also fatal to his breach of contract claims.”); Overby v.

Chase Manhattan Bank, 351 F. Supp. 2d 219, 225 (S.D.N.Y. 2005) (barring banking claims against

bank due to plaintiff’s failure to provide contractually required notice to bank within 30-60 days

of receiving the account statement); Puerto Rico Tel. Co., Inc. v. SprintCom, Inc., 662 F.3d 74, 96

(1st Cir. 2011) (“[U]nder the terms of the Waiver Provision, a billed party’s failure to object to an

invoice in accordance with the procedures set forth in such provision constitutes a waiver of that

party’s right to challenge the invoice.”); Qassemzadeh v. IBM Poughkeepsie Employees Federal

Credit Union, 167 A.D.2d 378, 561 N.Y.S.2d 795, 796 (2d Dep’t 1990) (failure to provide bank

timely notice of alleged unauthorized transaction barred claim); cf. Williams v. Fed. Express Corp.,

No. CV 99–06252 MMM BQRX, 1999 WL 1276558, at *5 (C.D. Cal. Oct. 6, 1999) (“The

contractual provision requiring timely written notice of a claim is valid, and [plaintiff’s] failure to

comply with the provision prevents him from collecting damages for the misdelivery of his

package.”); Camacho v. JPMorgan Chase Bank, No. 5:14-cv-04048, 2015 WL 5262022, *3-4

(N.D. Cal. Sept. 9, 2015) (dismissing EFTA claim due to customer’s failure to comply with notice

requirements in his account agreement and under the EFTA).

       Here, Howards waived his breach of contract claim (including his claim for breach the

implied covenant of good faith and fair dealing) by failing to provide Fifth Third notice as required

by the account R&Rs. Howards does not allege compliance with the notice requirement, nor does

the FAC allege compliance with all conditions precedent. Accordingly, this Court should dismiss

the Complaint for failure to comply with the notice requirement. See Au Rustproofing Ctr., Inc. v.

Gulf Oil Corp., 755 F.2d 1231, 1237 (6th Cir. 1985) (“It is well established under Ohio contract

law that a party must comply with all express conditions to be performed in case of breach before

it can claim damages by reason of the breach.”).



                                                  19
  Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 30 of 31 PAGEID #: 884



V.     CONCLUSION

       For the foregoing reasons, Fifth Third respectfully requests that the Court grant Fifth

Third’s motion to dismiss each and every one of Plaintiff’s three causes of action in their entirety

and with prejudice.



Dated: April 3, 2019                      Respectfully submitted,

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                                                20
 Case: 1:18-cv-00869-MRB Doc #: 49 Filed: 04/03/19 Page: 31 of 31 PAGEID #: 885



                                CERTIFICATE OF SERVICE

       I certify that on April 3, 2019, a true and authentic copy of the foregoing was submitted to

the Clerk of Court using the CM/ECF system, which will send notice of electronic filing to the

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                                               21
